     Case 4:15-cr-00204-RSB-CLR Document 121 Filed 07/13/16 Page 1 of 13




               IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

UNITED STATES OF AMERICA

V.                                   )       CASE NO. CR415-204 .,
                                     /                                P1
TIMECKA GREEN,                       )Cn

                                                                 cD        \ r
      Defendant.
                                                                cI         l         -
                                                                 rtft

                                ORDER

     Before the Court is Defendant's Motion for New Tr                         (c.

114.) For the following reasons, Defendant's motion is DENIED.

                                BACKGROUND

     On October 27, 2015, local police received a report that

children in Defendant's home were unresponsive. This was

allegedly caused by a cocaine cooking operation on the premises.

Law enforcement arrived on scene where they arrested Larron

Bruce and seized a scale, cocaine, and a large amount of cash

from his person. After procuring a search warrant, law

enforcement conducted a search of the home. During this search,

law enforcement took pictures of each room in the residence.

Cocaine was found on the kitchen counter, in the kitchen

cabinet, in the living room, and in Defendant's car. Drug tools

and packaging material were also found in the kitchen, living

room, a grill outside the home, and a backpack in the back yard.

Crack and marijuana was also found inside Defendant's car.
    Case 4:15-cr-00204-RSB-CLR Document 121 Filed 07/13/16 Page 2 of 13




     Law enforcement also conducted interviews on the night of

the search. Defendant's daughter was present at the house when

law enforcement arrived and gave a videotaped interview. She

explained that she had seen Mr. Bruce in the home cooking crack

on multiple occasions. Although Defendant's daughter

acknowledged that Defendant was rarely present when this

occurred, she stated that Defendant allowed Mr. Bruce into her

home for the purpose of cooking crack.

     During the course of the search, law enforcement observed a

car drive past Defendant's residence multiple times. Eventually,

the car turned into Defendant's residence and Defendant Green

exited the vehicle. She told law enforcement that she had left

about thirty to forty-five minutes earlier to pick up McDonalds

for her children. Defendant Green was then arrested.

     Defendant made numerous phone calls from jail after she was

arrested and detained. In several of the phone calls she made

threatening comments about her daughter. Specifically, Defendant

stated that she would cut her daughter's throat if she saw the

girl again. The phone calls indicated Defendant's intent to get

her daughter to change her story.

     Defendant was indicted on December 3, 2015. (Doc. 1.) She

was charged with one count of conspiracy to possess with intent

to distributed a mixture and substance containing a detectable

amount of cocaine and cocaine base and conspiracy to manufacture

                                    2
    Case 4:15-cr-00204-RSB-CLR Document 121 Filed 07/13/16 Page 3 of 13




cocaine base, one count of possession of cocaine with intent to

distribute and possession of cocaine base with intent to

distribute, and one count of unlawful manufacture of a mixture

or substance containing a detectable amount of cocaine base.

(Id.) Defendant proceeded to trial on May 23, 2016.

     At trial, Defendant's attorney argued that Defendant had no

knowledge that Mr. Bruce was using her home to cook crack. He

also argued that Defendant had no knowledge of the drugs in

general, and no motive or plan to commit any crime. However, the

Government presented conflicting evidence.

     Defendant's daughter testified at trial. The Government

also introduced a videotape containing the daughter's statements

on the night of Defendant's arrest. In both of these statements

the daughter acknowledged that Defendant was aware of Mr.

Bruce's crack-cooking activities. Moreover, Mr. Bruce testified

against Defendant, acknowledging that Defendant was aware of his

actions. He also stated that Defendant had left her home on the

night of her arrest to sell drugs.

     In addition to testimony, the Government introduced a

series of photographs of the home taken by law enforcement. The

photographs included evidence of drugs and drug paraphernalia

throughout Defendant's home. They showed that the home was

generally in a state of disrepair and uncleanliness. The

Government also introduced a phone call Defendant made from jail

                                    3
    Case 4:15-cr-00204-RSB-CLR Document 121 Filed 07/13/16 Page 4 of 13




in which she made threatening statements about her daughter.

Finally, the Government sought the admission of Defendant's

prior crimes. The Court allowed the admission of six felonies

and one misdemeanor, including two counts for the sale of

marijuana, one count of possession of cocaine, one count for the

possession of marijuana—the misdemeanor, two counts for the sale

of marijuana within 1000 feet of public housing, and one count

for the use of a communication facility during the commission of

a crime.

     Prior to jury deliberations, Defendant's counsel requested

three additional jury instructions. The first stated

     [t]he testimony of Larron Bruce is not to be taken as
     that of an ordinary witness of good character. On the
     contrary, his testimony should be received by you with
     suspicion and with the very greatest care and caution.

The second stated

     I charge you that you should not put too much reliance
     on the testimony of Larron Bruce and that you should
     give little credence to his testimony unless there is
     corroborating testimony.

The third stated

     I charge you that you should not convict Defendant on
     the unsupported testimony of Larron Bruce, unless you
     believe Larron Bruce's testimony beyond a reasonable
     doubt.

The Court declined to issue these instructions.

     A jury convicted Defendant on all three counts. On June 6,

2016, Defendant filed a motion for a new trial. (Doc. 114.)

First, Defendant argues that the jail phone call played at trial
                                    4
    Case 4:15-cr-00204-RSB-CLR Document 121 Filed 07/13/16 Page 5 of 13




was unduly prejudicial and that the Court erred in failing to

allow the introduction of other explanatory phone calls. (Doc.

114 at 1.) Second, Defendant argues that the Court erred in

admitting the evidence of Defendant's prior crimes because their

probative value was substantially outweighed by undue prejudice.

(Doc. 114 at 6.) Third, Defendant argues that the Court erred in

admitting evidence of photographs that showed her house in

disarray, but did not show any evidence of drugs or drug

paraphernalia. (Doc. 114 at 10.) Finally, Defendant argues that

the Court erred in failing to include the three requested jury

charges. (Doc. 114 at 11.)

                                ANALYSIS

     The Court may grant a defendant's motion for a new trial

"if the interest of justice so requires." Fed. R. Crim. P.

33(a). Where a defendant moves for a new trial based on

improperly admitted evidence, the defendant must show that an

objection was properly preserved, the court abused its

discretion in admitting or rejecting the evidence, and the error

was prejudicial to the defendant. United States v. Stephens, 365

F.3d 967, 974 (11th Cir. 2004) . Motions for new trials based on

other trial errors must demonstrate that the error created

circumstances that rendered the trial prejudicially unfair. See

United States v. Prunick, 273 F. App'x 807, 808 (11th Cir. 2008)

(affirming decision to grant new trial where joinder of

                                    5
     Case 4:15-cr-00204-RSB-CLR Document 121 Filed 07/13/16 Page 6 of 13




pornography counts with other charges resulted in prejudicially

unfair trial); United States v. Martinez, 763 F.2d 1297, 1315

(11th Cir. 1985) (rejecting defendant's motion for new trial

based on discovery violation because violation did not render

trial "fundamentally unfair").

I.    JAIL PHONE CALLS

      Defendant makes two arguments why the Government should not

have been able to introduce a recording of a phone call

Defendant made while in jail. First, Defendant argues that the

tape was unduly prejudicial. (Doc. 114 at 1.) Second, Defendant

argues that the rule of completeness required the admission of a

number of other phone calls. Defendant alleges that she made

these other calls while in jail and that these other calls

provide context for the one introduced at trial. (Id. at 4.)

      Both of Defendant's arguments must fail. As an initial

matter, Defendant's counsel failed to raise an objection at

trial to the introduction of the jail tape. See UnitedStates v.

Khoury, 901 F.2d 948, 966 (11th Cir. 1990) ("A defendant must

object at trial to preserve an objection on appeal; the

overruling of a motion in limine does not suffice.") (citing

United States v. Rutkowski, 814 F.2d 594, 598 (11th Cir. 1987)).

Because there was no objection raised at trial to the admission

of the phone call, it was not properly preserved. Accordingly,

it is not properly before the Court as a basis for a new trial.
    Case 4:15-cr-00204-RSB-CLR Document 121 Filed 07/13/16 Page 7 of 13




     Moreover, even if Defendant's counsel had objected, the

request would be denied. The Court cannot discern an error in

refusing the admittance of the additional calls Plaintiff

desires on the basis of Rule 106. Rule 106 states that "[i]f a

party introduces all or part of a writing or recorded statement,

an adverse party may require the introduction, at that time, of

any other part—or any other writing or recorded statement—that

in fairness ought to be considered at the same time." Fed. R.

Evid. 106. The rule "permits introduction only of additional

material that is relevant and is necessary to qualify, explain,

or place into context the portion already introduced." United

States v. Simms, 385 F.3d 1347, 1359 (11th Cir. 2004) (quoting

United States v. Pendas-Martinez, 845 F.2d 938, 944 (11th Cir.

1988)). The phone call introduced by the Government at trial was

played in its entirety and there were no unclear portions

requiring explanation or context. While some statements

Defendant made on additional calls may provide further self-

serving testimony, they are not necessary to explain or place in

context the portions of the phone calls the Government played.

See United States v. Eady, 591 F. App'x 711, 716 (11th Cir.

2014) (holding that rule 106 "permits introduction only of

additional material that is relevant and is necessary to

qualify, explain, or place into context the portion already

introduced").

                                    ri
    Case 4:15-cr-00204-RSB-CLR Document 121 Filed 07/13/16 Page 8 of 13




    Likewise, the Court also cannot conclude that the

admittance of the phone call was so prejudicial as to warrant a

new trial. In this Circuit, "a new trial is warranted only where

the error has caused substantial prejudice to the affected

party." Peat, Inc. v. Vanguard Research, Inc., 378 F.3d 1154,

1162 (11th Cir. 2004). In addition to the phone call, Defendant

was presented with the testimony of her daughter, the testimony

of her co-defendant, and the drug evidence found in her home and

in her car. The testimony of all of these witnesses corroborated

the Government's claim that Defendant had engaged in drug

related conduct on the night of her arrest. Moreover, the phone

call was relevant to the testimony of Defendant's daughter and

provided context for her statements. Given the weight of the

evidence against Defendant, there is no basis to hold that she

suffered substantial prejudice from the admittance of a phone

call in which she threatened her daughter. Accordingly,

Defendant's Motion for New Trial on this ground is DENIED.

II. DEFENDANT'S PRIOR CRIMES

     The Court previously addressed whether the Government could

introduce evidence of Defendant's prior crimes pursuant to

Federal Rule of Evidence 404. Generally, "evidence of a crime,

wrong, or other act is not admissible to prove a person's

character in order to show that on a particular occasion the

person acted in accordance with the character." Fed. R. Evid.
    Case 4:15-cr-00204-RSB-CLR Document 121 Filed 07/13/16 Page 9 of 13




404 (b). However, such evidence is admissible when introduced

"for another purpose, such as proving motive, opportunity,

intent, preparation, plan, knowledge, identity, absence of

mistake, or lack of accident." Id. Rule 404(b) evidence must

"(1) be relevant to an issue other than the defendant's

character; (2) be proved sufficiently to permit a jury

determination that the defendant committed the act; and (3) be

of probative value that is not substantially outweighed by undue

prejudice and meet the other requirements under Fed. R. Evid.

403." United States v. Patrick, 536 F. App'x 840, 842 (11th Cir.

2013) (citing United States v. Jernigan, 341 F.3d 1273, 1280

(11th Cir. 2003)).

     The determination of whether the probative value of

Defendant's prior crimes is substantially outweighed by undue

prejudice requires a "common sense assessment of all the

circumstances surrounding the extrinsic offense, including

prosecutorial need, overall similarity between the extrinsic act

and the charged offense, as well as temporal remoteness." United

States v. Calderon, 127 F.3d 1314, 1332 (11th Cir. 1997)

(citations omitted). In this case, the probative value of

Defendant's prior convictions was not substantially outweighed

by undue prejudice. The Government offered evidence of

Defendant's prior crimes to show knowledge and intent. While

some of Defendant's previous convictions are for marijuana
   Case 4:15-cr-00204-RSB-CLR Document 121 Filed 07/13/16 Page 10 of 13




rather than cocaine, prior drug related convictions were

relevant to this case. See United States v. Lampley, 68 F.3d

1296, 1300 (11th Cir. 1995) (marijuana convictions admissible in

cocaine deal despite "differing nature and remoteness in time");

United States v. Delgado, 56 F.3d 1357, 1366 (11th Cir. 1995)

("[W]hen other crimes evidence goes to intent rather than

identity a lesser degree of similarity between the charged crime

and the uncharged crime is required."). Defendant's argument

that there was no prosecutorial need in this case is likewise

unavailing. The fact that the Government can introduce evidence

of Defendant's knowledge or intent through Defendant's co-

conspirators does not preclude the Government from introducing

additional evidence of prior crimes at trial. See Calderon, 127

F.3d at 1332 (allowing government to introduce prior crimes

evidence because case rested on testimony of coconspirator

witnesses whose credibility was questionable).

     Finally, Defendant argues, yet again, that the prior

convictions are too remote in time to be probative. There is no

"bright-line rule regarding temporal remoteness." Patrick, 536

F. App'x at 843 (citing United States v. Matthews, 431 F.3d

1296, 1311 (11th Cir. 2005)). In this case, the amount of time

between Defendant's convictions for her prior crimes and those

at issue in this case is less than ten years. This time period

does not militate against the evidence's probative value

                                   10
   Case 4:15-cr-00204-RSB-CLR Document 121 Filed 07/13/16 Page 11 of 13




considering the similarity of the prior crimes and the instant

offenses. Accordingly, Defendant's Motion for New Trial on this

ground is DENIED.

III. PHOTOGRAPHS OF THE HOME

     Defendant argues next that the Court erred in admitting

eight photographs that showed bedrooms in her home. (Doc. 114 at

10.) Defendant argues that the photographs were unfairly

prejudicial because they showed the rooms in a state of

uncleanliness, but did not provide evidence of drugs. (Id.) The

photographs were offered by the Government for two purposes.

First, that police at the scene conducted a sweep of the entire

home. (Doc. 115 at 6.) Second, that the Defendant allowed the

manufacture and sale of drugs in her home. (Id.) In this regard,

the photos provided a layout of the home and provided context

for witness testimony. This was useful to the jury when

considering testimony as to where drugs were found, where

witnesses were standing, and what those witnesses were able to

see and hear from their various locations inside the home. While

the photographs showed the bedrooms in a state of uncleanliness,

the Court is unpersuaded that the probative value of the

photographs was outweighed by the danger of unfair prejudice.

See United States v. Blasingame, 219 F. App'x 934, 945-46 (11th

Cir. 2007) (declining to reverse district court where photograph

of gunshot scar and numerous tattoos were admitted against

                                   RON
    Case 4:15-cr-00204-RSB-CLR Document 121 Filed 07/13/16 Page 12 of 13




defendant charged with conspiracy to commit armed robbery).

Accordingly, Defendant's Motion for New Trial on this ground is

DENIED.

IV. JURY INSTRUCTIONS

     Finally, Defendant argues that the Court erred in failing

to offer three jury instructions proffered by Defendant. (Doc.

114 at 11.) A trial court's refusal to give a jury instruction

is only reversible error if "(1) the requested instruction was a

correct statement of the law, (2) its subject matter was not

substantially covered by other instructions, and (3) its subject

matter dealt with an issue in the trial court that was so

important that failure to give it seriously impaired the

defendant's ability to defend himself." United States v.

Paradies, 98 F.3d 1266, 1286 (11th Cir. 1996) (citing United

States v. Sirang, 70 F.3d 588, 593 (11th Cir. 1995)).

     The three instructions requested by Defendant generally

require that the jury be wary of Mr. Bruce's testimony because

he was a co-defendant and had entered into a plea deal with the

Government. However, these instructions were superfluous as the

Court provided the proper warnings to the jury pursuant to the

Eleventh Circuit Pattern Jury Instructions. The Court noted that

a testifying witness had made a plea agreement with the

Government in exchange for his testimony. Next, the Court stated

that "while a witness of that kind may be entirely truthful when

                                    12
    Case 4:15-cr-00204-RSB-CLR Document 121 Filed 07/13/16 Page 13 of 13




testifying, you should consider that testimony with more caution

than the testimony of other witnesses." As a result, there was

no need to provide Defendant's additional instructions because

suitable warnings were issued. See United States v. Roberts, 464

F. App'x 796, 799 (11th Cir. 2012) (denying new trial where

proposed jury instructions were cumulative) . Accordingly,

Defendant's Motion for New Trial on this ground is DENIED.

                              CONCLUSION

     Before the Court is Defendant's Motion for New Trial. (Doc.

114.) For the foregoing reasons, Defendant's motion is DENIED.

     SO ORDERED this /Sday of July 2016.



                                 WILLIAM T. MOORE, JR.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




                                   13
